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          IN THE UNITED STATES COURT OF APPEALS

                       FOR THE FIFTH CIRCUIT                                  United States Court of Appeals
                                                                                        Fifth Circuit
                           _______________________
                                                                                      FILED
                                                                                March 17, 2015
                                No. 14-50350
                             Summary Calendar                                    Lyle W. Cayce
                           _______________________                                    Clerk


                         D.C. Docket No. 1:12-CV-28


CAROLYN BARNES,

            Plaintiff - Appellant

v.

DENNIS TUMLINSON; TRAVIS COUNTY; TRAVIS COUNTY SHERIFF'S
DEPARTMENT; TRAVIS COUNTY JAIL; TRAVIS COUNTY PRETRIAL
SERVICES; ET AL,

            Defendants - Appellees

             Appeal from the United States District Court for the
                      Western District of Texas, Austin

Before SMITH, WIENER, and ELROD, Circuit Judges.

                                 JUDGMENT

      This cause was considered on the record on appeal and the briefs on file.

      It is ordered and adjudged that the judgment of the District Court is
affirmed.




                            Certified as a true copy and issued
                            as the mandate on Jun 16, 2015
                            Attest:
                            Clerk, U.S. Court of Appeals, Fifth Circuit
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CAROLYN BARNES,

                                                 Plaintiff-Appellant

v.

DENNIS TUMLINSON; TRAVIS COUNTY; TRAVIS COUNTY SHERIFF'S
DEPARTMENT; TRAVIS COUNTY JAIL; TRAVIS COUNTY PRETRIAL
SERVICES; ET AL,

                                                 Defendants-Appellees


                   Appeal from the United States District Court
                        for the Western District of Texas
                              USDC No. 1:12-CV-28


Before SMITH, WIENER, and ELROD, Circuit Judges.
PER CURIAM: *
       Carolyn Barnes appeals the district court’s dismissal of her 42 U.S.C.
§ 1983 complaint under Federal Rule of Civil Procedure 41(b) for failing to
comply with a court order. Barnes filed hundreds of pages of pleadings, which
the magistrate judge and district court found to be difficult to parse, and so she
was ordered to file a single amended complaint not to exceed 30 pages that


       * Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
be published and is not precedent except under the limited circumstances set forth in 5TH
CIR. R. 47.5.4.
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named all defendants, identified all claims, and complied with Federal Rule of
Civil Procedure 8. Barnes, though given multiple opportunities to comply with
the orders, extensions of time, and warnings that if she did not comply her case
would be dismissed, did not file an amended complaint, and so the district court
dismissed the case with prejudice.
      A district court may dismiss an action where the plaintiff fails to comply
with a court order. FED. R. CIV. P. 41(b); McCullough v. Lynaugh, 835 F.2d
1126, 1127 (5th Cir. 1988). Where, as here, a district court’s dismissal is with
prejudice, we will uphold it only “when there is clear record of delay or
contumacious conduct by the plaintiff and when lesser sanctions would not
serve the best interests of justice.” Bryson v. United States, 553 F.3d 402, 404
(5th Cir. 2008) (internal quotation marks and citations omitted); see also
Coleman v. Sweetin, 745 F.3d 756, 766 (5th Cir. 2014).
      First, Barnes takes issue with the order that she limit her complaint to
30 pages, contending the page limit was arbitrary and not required by Rule 8,
it would have been impossible to include all claims and defendants in a
pleading of that length, and, if her pleadings were too voluminous, the court
should have rejected them immediately when it received them. Rule 8(a)
requires that a complaint contain, among other things, a “short and plain
statement of the claim,” FED. R. CIV. P. 8(a)(2), and the district court has “great
leeway in determining whether a party has complied with” this rule, Gordon
v. Green, 602 F.2d 743, 745 (5th Cir. 1979) (citing cases where courts found
that voluminous pleadings ran afoul of the requirement that the plaintiff
provide a short and plain statement of the claim). In light of Barnes’s conduct
in continually adding claims and defendants and the resulting volume of
pleadings and related submissions received by the district court, the orders
requesting that Barnes replead her case, comply with Rule 8, and limit her



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pleadings to 30 pages were within the court’s discretion. See Cesarani v.
Graham, Nos. 92-8588 & 93-8149, 1994 WL 261232, 1-2 (5th Cir. June 9, 1994)
(explaining that the district court’s dismissal of the plaintiff’s complaint was
not an abuse of discretion where the plaintiff failed to comply with the district
court’s order that his amended complaint not exceed 20 pages in length and
comply with Rule 8(a)); see also Woodson v. Surgitek, Inc., 57 F.3d 1406, 1417
(5th Cir. 1995) (explaining that “[t]he federal courts are vested with the
inherent power to manage their own affairs so as to achieve the orderly and
expeditious disposition of cases” (internal quotation and citation omitted)).
      To the extent that Barnes argues that she was entitled to discovery
before being required to enumerate all of her claims, she is mistaken.
Discovery is not a license for the plaintiff to “go fishing,” Marshall v.
Westinghouse Elec. Corp., 576 F.2d 588, 592 (5th Cir. 1978) (internal quotation
marks omitted), and is limited to information that “is relevant to any party’s
claim or defense,” FED. R. CIV. P. 26(b)(1). Thus, it was incumbent on Barnes
to lay out her claims before seeking discovery germane to them.
      Barnes also contends that though she did not comply with the court’s
orders, her conduct was excusable because the magistrate judge would not
provide her a sample pleading, the magistrate judge did not clarify the order
that she file an amended complaint, and the district court refused her request
for copies of her pleadings. She has not sufficiently explained, however, and it
is not apparent, how any of these issues prevented her from submitting an
amended complaint. She further alleges that, while in prison, she lacked
access to supplies and materials necessary to file an amended complaint. This
assertion rings hollow, though, because, during the same time period, she was
nonetheless able to file motions for a new trial and extensions of time, and it
is not evident why she could not also have filed an amended complaint as well.



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      Barnes’s decision not to comply with the district’s court’s orders shows a
clear record of purposeful, contumacious conduct and amounts to the “the
stubborn resistance to authority” justifying a dismissal with prejudice. Millan
v. USAA Gen. Indem. Co., 546 F.3d 321, 327 (5th Cir. 2008) (internal quotation
marks and citation omitted); see Coleman, 745 F.3d at 766 & n.9. Moreover,
the lesser sanctions imposed by the district court—in the form of warnings that
Barnes’s failure to comply with its orders would lead to dismissal—did nothing
to change her behavior, and so the continued imposition of additional lesser
sanctions would not serve the best interests of justice. See Bryson, 553 F.3d at
404; see also Rogers v. Kroger Co., 669 F.2d 317, 321-22 (5th Cir. 1982)
(explaining that explicit warnings are among the lesser sanctions that courts
should consider before dismissing a case with prejudice under Rule 41(b)).
      Finally, Barnes complains that the district court denied her motion to
appoint counsel.     Her case, however, does not present the exceptional
circumstances required for the court to appoint counsel, and the court did not
abuse its discretion in declining to do so. See Ulmer v. Chancellor, 691 F.2d
209, 212 (5th Cir. 1982). Especially in light of the fact that at one time, Barnes
was a licensed attorney, she has not shown why she was unable to compose a
short and plain statement of her case without the assistance of appointed
counsel. Barnes’s remaining arguments on appeal take issue with various
actions on the part of the magistrate judge that have no bearing on the orders
requiring her to submit an amended complaint, and so we do not address them.
      The district court’s judgment is AFFIRMED.




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                       United States Court of Appeals
                                   FIFTH CIRCUIT
                                OFFICE OF THE CLERK
LYLE W. CAYCE                                                          TEL. 504-310-7700
CLERK                                                               600 S. MAESTRI PLACE
                                                                   NEW ORLEANS, LA 70130



                                June 16, 2015


Ms. Jeannette Clack
Western District of Texas, Austin
United States District Court
501 W. 5th Street
Austin, TX 78701-0000

       No. 14-50350       Carolyn Barnes v. Dennis Tumlinson, et al
                          USDC No. 1:12-CV-28


Dear Ms. Clack,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.


                                    Sincerely,
                                    LYLE W. CAYCE, Clerk


                                    By: _________________________
                                    Renee S. McDonough, Deputy Clerk
                                    504-310-7673
cc:
       Ms. Carolyn Barnes
